















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 59,908-01






EX PARTE CARLTON AKEE TURNER








ON APPLICATION FOR WRIT OF HABEAS CORPUS 


FROM DALLAS COUNTY






	Per curiam.  


O R D E R



	This is an application for writ of habeas corpus filed pursuant to Article 11.071 of
the Texas Code of Criminal Procedure.

	On June 29, 1999, Applicant was convicted of the offense of capital murder.  The
jury answered the special issues submitted pursuant to Article 37.071 of the Texas Code of
Criminal Procedure, and the trial court set punishment at death.  Applicant's conviction was
affirmed on direct appeal.  Turner v. State, 87 S.W.3d 111 (Tex. Crim. App. 2002).

	Applicant presents eight allegations in his application in which he challenges the
validity of his conviction and resulting sentence.  The trial court entered findings of fact
and conclusions of law and recommended that relief be denied. 

	This Court has reviewed the record with respect to the allegations made by
Applicant.  We adopt the trial judge's findings and conclusions.  Based upon the trial
court's findings and conclusions and our own review, the relief sought is denied.

		IT IS SO ORDERED THIS THE 29TH DAY OF SEPTEMBER, 2004.


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